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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION



VIRGIL WAYNE BARLOW,
       Plaintiff,

v.                                                Case No. 3:20cv5805-LC-HTC

OKALOOSA COUNTY COMMISSIONER GRAHAM FOUNTAIN,
CHIEF CORRECTIONAL OFFICER ERIC ESMOND,
CORIZON HEALTH CORE ADMINISTRATOR SUSAN PRIDDY,

      Defendants.
______________________/

                                    ORDER

      The magistrate judge issued a Report and Recommendation on December 7,

2020 (ECF No. 8).        The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title

28, United States Code, Section 636(b)(1). I have made a de novo determination of

the timely filed objections.

      Having considered the Report and Recommendation, and the objections

thereto, I have determined the Report and Recommendation should be adopted.




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      Accordingly, it is ORDERED:

      1.     The magistrate judge’s Report and Recommendation (ECF No. 8) is

adopted and incorporated by reference in this order.

      2.     This case is DISMISSED for failure to prosecute and to comply with

Court orders.

      3.     The clerk of court is directed to close this case.

      DONE AND ORDERED this 25th day of January, 2021.



                                    s/L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




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